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                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF GEORGIA
                           ATLANTA DIVISION


 IN RE EQUIFAX, INC., CUSTOMER                         MDL DOCKET NO. 2800
 DATA SECURITY BREACH                                  1:17-md-2800-TWT
 LITIGATION
                                                       ALL CASES


                                               ORDER


        This matter is before the Court on competing motions to appoint lead

counsel, liaison counsel, and members of a steering committee submitted by

various counsel for the Consumer Plaintiffs and the Financial Institution

Plaintiffs. This Court, in Case Management Order No. 1 (“CMO No. 1”), set forth

the main criteria it would consider in appointing leadership positions in this

matter, including: (1) willingness and ability to commit to a time-consuming

process; (2) ability to work cooperatively with others; (3) professional experience

in this type of litigation; and (4) access to sufficient resources to advance the

litigation in a timely manner. Having considered all timely submissions in light

of the criteria set forth in CMO No. 1, the Manual for Complex Litigation, and

Federal Rule of Civil Procedure 23(g), and having considered oral argument

during the hearing held on February 9, 2018, the Court hereby appoints the

following leadership:




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        A. Consumer Plaintiffs

                1. Consumer Plaintiffs’ Co-Lead Counsel

        The Court appoints the following attorneys as the Consumer Plaintiffs’

Co-Lead Counsel:

                Kenneth S. Canfield
                Doffermyre Shields Canfield & Knowles, LLC
                1355 Peachtree Street, N.E.
                Suite 1600
                Atlanta, Georgia 30309

                Amy E. Keller
                DiCello Levitt & Casey LLC
                Ten North Dearborn Street
                Eleventh Floor
                Chicago, Illinois 60602

                Norman E. Siegel
                Stueve Siegel Hanson LLP
                460 Nichols Road, Suite 200
                Kansas City, Missouri 64112

                2. Consumer Plaintiffs’ Co-Liaison Counsel:

        The Court appoints the following attorneys as the Consumer Plaintiffs’

Co-Liaison Counsel:

                Roy E. Barnes
                Barnes Law Group, LLC
                31 Atlanta Street
                Marietta, Georgia 30060

                David J. Worley
                Evangelista Worley LLC
                8100A Roswell Road
                Suite 100
                Atlanta, Georgia 30350



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                3. Consumer Plaintiffs’ Steering Committee

        The Court appoints the following attorneys to the Consumer Plaintiffs’

Steering Committee:

                Andrew N. Friedman
                Cohen Milstein Sellers & Toll PLLC
                1100 New York Avenue, NW
                Suite 500
                Washington, DC 20005

                Eric H. Gibbs
                Girard Gibbs LLP
                505 14th Street
                Suite 1110
                Oakland, California 94612

                James Pizzirusso
                Hausfeld LLP
                1700 K Street NW
                Suite 650
                Washington, DC 20006

                Ariana Tadler
                Milberg Tadler Phillips Grossman LLP
                One Penn Plaza
                19th Floor
                New York, New York 10119

                John A. Yanchunis
                Morgan & Morgan Complex Litigation Group
                201 N. Franklin Street, 7th Floor
                Tampa, Florida 33602

                William H. Murphy III
                Murphy, Falcon & Murphy
                1 South Street
                23rd Floor
                Baltimore, Maryland 21224




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                Jason R. Doss
                The Doss Firm, LLC
                36 Trammell Street, Suite 101
                Marietta, Georgia 30064

                4. Consumer Plaintiffs’ State Court Coordinating Counsel

        The Court appoints the following attorney as the Consumer Plaintiffs’

State Court Coordinating Counsel:

                Rodney K. Strong
                Griffin & Strong P.C.
                235 Peachtree Street NE, Suite 400
                Atlanta, GA, 30303

                5. Co-Interim Consumer Class Counsel

        The Consumer Plaintiffs’ Co-Lead Counsel and Co-Liaison Counsel are

also hereby designated as Co-Interim Consumer Class Counsel pursuant to Rule

23(g) to “act on behalf of a putative class before determining whether to certify

the action as a class action.” See FED. R. CIV. P. 23(g)(3).

        B. Financial Institution Plaintiffs

                1. Financial Institution Plaintiffs’ Co-Lead Counsel

        The Court appoints the following attorneys as the Financial Institution

Plaintiffs’ Co-Lead Counsel:

                Joseph P. Guglielmo
                Scott+Scott, Attorneys at Law, LLP
                230 Park Avenue
                17th Floor
                New York, NY 10169




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                Gary F. Lynch
                Carlson Lynch Sweet Kilpela & Carpenter, LLP
                5th Floor
                1133 Penn Avenue
                Pittsburgh, PA 15222

                2. Financial Institution Plaintiffs’ Co-Liaison Counsel

        The Court appoints the following attorneys as the Financial Institution

Plaintiffs’ Co-Liaison Counsel:

                Craig A. Gillen
                Gillen, Withers & Lake, LLC
                3490 Piedmont Road, N.E.
                One Securities Centre, Suite 1050
                Atlanta, GA 30305

                MaryBeth V. Gibson
                The Finley Firm, P.C.
                Building 14, Suite 230
                3535 Piedmont Road
                Atlanta, GA 30305

                Ranse M. Partin
                Conley Griggs Partin, LLP
                Building One, Suite 300
                4200 Northside Parkway, NW
                Atlanta, GA 30327

                3. Financial Institution Plaintiffs’ Steering Committee

        The Court appoints the following attorneys to the Financial Institution

Plaintiffs’ Steering Committee:

                Arthur M. Murray
                Murray Law Firm
                650 Poydras Street
                Suite 2150
                New Orleans, LA 70130



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                Stacey P. Slaughter
                Robins Kaplan, LLP
                Suite 2800
                800 LaSalle Plaza
                Minneapolis, MN 55402

                Charles Hale Van Horn
                Berman Fink Van Horn, P.C.
                3475 Piedmont Road, N.E.
                Suite 1100
                Atlanta, GA 30305

                Joseph Henry (Hank) Bates, III
                Carney Bates & Pulliam, PLLC
                Suite 510
                2800 Cantrell Road
                Little Rock, AR 72202

                Bryan L. Bleichner
                Chestnut Cambronne, PA
                Suite 300
                17 Washington Avenue North
                Minneapolis, MN 55401

                Karen H. Riebel
                Lockridge Grindal Nauen P.L.L.P
                100 Washington Avenue South
                2200 Washington Square
                Minneapolis, MN 55401

                Karen S. Halbert
                Roberts Law Firm, P.A.
                P.O. Box 241790
                20 Rahling Circle
                Little Rock, AR 72223

                Brian C. Gudmondson
                Zimmerman Reed LLP
                1100 IDS Center
                80 South 8th Street
                Minneapolis, MN 55402



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        C. Duties of Co-Lead Counsel

        The Co-Lead Counsel for the Consumer Plaintiffs and the Financial

Institution Plaintiffs shall, along with the Co-Liaison Counsel for the Consumer

Plaintiffs and the Financial Institution Plaintiffs, have the following

responsibilities:

        a. Direct and manage pretrial proceedings on behalf of all Consumer

        Plaintiffs and all Financial Institution Plaintiffs, including the briefing

        and argument of motions and the conduct of all types of discovery

        proceedings;

        b. Delegate work responsibilities to other Plaintiffs’ counsel, and monitor

        the activities of all Plaintiffs’ counsel to assure that Plaintiffs’ pretrial

        preparation is conducted effectively, efficiently, and economically, that

        schedules are met, and that unnecessary expenditures of time and

        expense are avoided;

        c. Consult with and employ consultants or experts, as necessary;

        d. Coordinate with other members of the Steering Committees in

        management of the litigation and fund the necessary and appropriate

        costs of discovery and other common benefit efforts, including the

        maintenance of a plaintiffs’ document depository, see Manual for Complex

        Litigation, Fourth, section 40.261;

        e. Coordinate settlement discussions or other dispute resolution efforts

        on behalf of the Consumer Plaintiffs and the Financial Institution

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        Plaintiffs, under the Court’s supervision, if and as appropriate;

        f. Enter into stipulations with other parties as necessary for the conduct

        of the litigation;

        g. Prepare and distribute to the parties periodic status reports;

        h. Maintain adequate time and disbursement records covering services

        as appointed counsel; and

        i. Perform such other duties as may be incidental to proper coordination

        with the Steering Committees of the Consumer Plaintiffs’ and Financial

        Institution Plaintiffs’ pretrial activities or as authorized by further Order

        of the Court.

        D. Duties of Co-Liaison Counsel:

        Co-Liaison Counsel for the Consumer Plaintiffs and the Financial

Institution Plaintiffs shall have the following responsibilities concerning the

consumer cases:

        a. Communicate with the Court, on behalf of Co-Lead Counsel, concerning

        scheduling and other administrative matters;

        b. Maintain an up-to-date, comprehensive Service List and promptly

        advise the Court and Defendants’ counsel of changes to Plaintiffs’ Service

        List;

        c. Receive and distribute to Plaintiffs’ counsel, as appropriate, Orders

        notices, and correspondence from the Court, to the extent such documents

        are not electronically filed; and

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        d. Receive and distribute to Plaintiffs’ counsel, as appropriate, discovery,

        pleadings, correspondence, and other documents from Defendants’

        counsel that are not electronically filed.

        E. Duties of Steering Committees

        The Steering Committees shall meet and confer as needed regarding the

completion of the Plaintiffs’ pretrial and trial activities. The Steering

Committees may establish subcommittees to aid in the effective and efficient

conduct of this litigation. The Steering Committees shall participate in the

determination of any significant matters that arise in the litigation.

        F. Duties of Consumer Plaintiffs' State Court Coordinating Counsel

        The State Court Coordinating Counsel shall monitor any ongoing

litigation in the state courts of Georgia and as appropriate work with the

Consumer Plaintiffs’ Co-Liaison Counsel to coordinate with state-court cases to

foster efficiency, minimize duplicative discovery, and avoid management

difficulties. The State Court Coordinating Counsel shall report to the Consumer

Plaintiffs’ Co-Lead Counsel, and the Court as requested, material developments

in the state court proceedings to ensure the efficient coordination of the

litigation.

        G. Other Responsibilities

        1. All counsel must keep a daily record of their time spent and expenses

incurred in connection with this litigation, and must report on a monthly basis

their expenses and hours worked to Co-Lead and Co-Liaison Counsel. Co-Lead

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and Co-Liaison Counsel will make such records and reports available to other

members of the Steering Committees upon request. In order for their time and

expenses to be compensable, those not serving in leadership positions must

secure the express authorization of Co-Lead Counsel for any projects or work

undertaken in this litigation.

         2. On a quarterly basis, beginning on April 30, 2018, and thereafter on the

last business day of each July, October, January, and April, Co-Lead and Co-

Liaison Counsel shall submit to the Court in camera reports reflecting hours

billed in this matter by all Plaintiffs’ counsel. Failure to maintain and submit

records with sufficient descriptions of the time spent and expenses incurred may

be grounds for denying attorneys’ fees and/or expenses, for the period that

relates to the missing or inadequate submissions.

         SO ORDERED, this 12 day of February, 2018.



                                               /s/Thomas W. Thrash
                                               THOMAS W. THRASH, JR.
                                               United States District Judge




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